         Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 1 of 11



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                                                     HONORABLE ROBERT S. LASNIK
 9
10                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
11
     RAJESH NAHAR and THIRUKUMARAN
12   VELAYUDHAN, Derivatively on Behalf of         No. 2:16-cv-00756 (RSL)
     Nominal Defendant, CTI BIOPHARMA
13   CORP.,                                        STIPULATED MOTION AND
                           Plaintiff,              PROPOSED ORDER TO CONSOLIDATE
14         v.                                      RELATED CASES AND APPOINT LEAD
                                                   COUNSEL
15   JAMES A. BIANCO, LOUIS A. BIANCO,
     BRUCE J. SEELEY, JACK W. SINGER,              NOTE ON MOTION CALENDAR:
16   PHILLIP M. NUDELMAN, JOHN H.                  NOVEMBER 4, 2016
     BAUER, KAREN IGNAGNI, RICHARD L.
17   LOVE, MARY O. MUNDINGER,
     FREDERICK W. TELLING and REED V.
18   TUCKSON,
                        Defendants,
19         and
20   CTI BIOPHARMA CORP.,
21                        Nominal Defendant
22   JAMES T. HILL, Derivatively on Behalf of
     Nominal Defendant, CTI BIOPHARMA
23   CORP.,
                         Plaintiff,
24         v.
25   JAMES A. BIANCO, LOUIS A. BIANCO,             No. 2:16-cv-01250 (RSL)
26
     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 1

                                                        Lee & Lee, PS             Gainey McKenna & Egleston
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          Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 2 of 11



 1   PHILLIP M. NUDELMAN, JOHN H.
     BAUER, KAREN IGNAGNI, RICHARD L.
 2   LOVE, MARY O. MUNDINGER,
     FREDERICK W. TELLING and REED V.
 3   TUCKSON,
 4                           Defendants,
            and
 5
     CTI BIOPHARMA CORP.
 6
                             Nominal Defendant
 7
 8
 9          IT IS HEREBY STIPULATED by and between Plaintiffs Rajesh Nahar, Thirukumaran
10
     Velayudhan and James T. Hill (“Plaintiffs”), Defendants James A. Bianco, Louis A. Bianco,
11
     Bruce J. Seeley, Jack W. Singer, Phillip M. Nudelman, John H. Bauer, Karen Ignagni, Richard
12
     L. Love, Mary O. Mundinger, Frederick W. Telling, Reed V. Tuckson, and, and Nominal
13
     Defendant CTI BioPharma Corp. (“Defendants,” and together with Plaintiffs, the “Parties”), the
14
15   parties to Rajesh Nahar, et al v. James A. Bianco, et al., No. 2:16-cv-00756 (RSL) and James T.

16   Hill v. James A. Bianco, et al., No. 2:16-cv-01250 (RSL) (the “Actions”), by and through their
17   respective counsel of record and subject to the approval of the Court, in order to facilitate the
18
     efficient prosecution of the Actions, as follows: pursuant to LCR 10 and 7(d)(1), Plaintiffs move
19
     the Court to enter an order consolidating the Actions under the caption of the first filed case,
20
     namely Rajesh Nahar, et al v. James A. Bianco, et al., No. 2:16-cv-00756 (RSL) (“Nahar
21
22   Action”) and to appoint interim lead counsel for the Plaintiffs to assist with the orderly

23   prosecution of the Actions.

24   I. CONSOLIDATION OF CASES
25
26
     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 2

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          Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 3 of 11



 1           1.      The Nahar Action is presently stayed (Dkt. No. 11) pursuant to a prior stipulation
 2
     among the Parties to that Action, but the Parties now hereby stipulate that the stay should be
 3
     temporarily lifted to allow for the procedural relief set forth herein.
 4
             2.      The Parties have met and conferred pursuant to LCR 42 and agree pursuant to
 5
     LCR 42(b) that the Actions are shareholder derivative actions that involve common questions of
 6
 7   law or fact, and that the Parties should stipulate to the consolidation of the Actions to avoid

 8   unnecessary costs or delay and to assure consistent rulings and decisions. Therefore, pursuant to
 9   LCR 42 and Federal Rule of Civil Procedure 42, the Parties agree that the Actions should be
10
     consolidated for all purposes as set forth herein. Hereinafter, papers need only be filed in the
11
     Consolidated Action, as set forth below. This Order shall govern and control the procedure for
12
     the litigation of each of the Actions and all related shareholder derivative cases that may be filed
13
14   in or transferred to this Court.

15           3.      The Parties agree that the files of the Actions shall be maintained by the clerk in

16   the Rajesh Nahar, et al v. James A. Bianco, et al., No. 2:16-cv-00756 action (the “Consolidated
17   Action”). Every pleading filed in the Actions shall bear the following caption:
18
19
     In re CTI BIOPHARMA SHAREHOLDER                   NO. 2:16-CV-00756 (RSL)
20   DERIVATIVE ACTION
                                                        Consolidated with No. 2:16-CV-01250 (RSL)
21
             4.      Defendants agree that their counsel shall be deemed to have accepted service of
22
     the complaint in each of the Actions as of the date of this stipulation. Defendants reserve all
23
24   defenses and objections except as to sufficiency of service.

25
26
     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 3

                                                                  Lee & Lee, PS             Gainey McKenna & Egleston
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           Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 4 of 11



 1           5.        Plaintiffs hereby designate the Complaint filed by Plaintiff Hill in the action
 2
     James T. Hill v. James A. Bianco, et al., No. 2:16-cv-01250 (RSL) as the current operative
 3
     complaint in the Consolidated Action.
 4
     II. ORGANIZATION OF PLAINTIFFS AND PLAINTIFFS’ COUNSEL
 5
             6.        Counsel for the Plaintiffs hereby agree that Faruqi & Faruqi, LLP and Gainey
 6
 7   McKenna & Egleston shall serve as Co-Lead Counsel and Terrell Marshall Law Group and Lee

 8   & Lee, PS as Co-Liaison Counsel for Plaintiffs in the Consolidated Action and all other related
 9   actions that have been filed in or transferred to this court. Defendants take no position on the
10
     Plaintiffs’ internal organization of the Actions.
11
             7.        The Parties agree that Defendants’ counsel may rely upon all agreements made
12
     with Co-Lead Counsel for Plaintiffs, or other duly authorized representative of Co-Lead Counsel
13
14   for Plaintiffs, and such agreements shall be binding on all Plaintiffs.

15           8.        The Parties agree that Co-Lead Counsel for Plaintiffs shall have authority to speak

16   for Plaintiffs in matters regarding pre-trial procedure, trial, and settlement negotiations, and shall
17   make all work assignments in such manner as to facilitate the orderly and efficient prosecution of
18
     this litigation and to avoid duplication or unproductive effort.
19
             9.        The Parties agree that Co-Lead Counsel for Plaintiffs shall be responsible for
20
     coordinating all activities and appearances on behalf of Plaintiffs and for the dissemination of
21
22   notices and orders of this court. No motion, request for discovery, or other pre-trial or trial

23   proceedings shall be initiated or filed by any Plaintiffs except at the behest of Co-Lead Counsel

24   for Plaintiffs.
25
26
     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 4

                                                                  Lee & Lee, PS             Gainey McKenna & Egleston
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          Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 5 of 11



 1          10.     The Parties agree that the responsibility of Co-Lead Counsel for Plaintiffs will
 2
     include controlling and overseeing the prosecution of the Consolidated Action and other related
 3
     actions. Co-Lead Counsel for Plaintiffs shall have the responsibility for:
 4
                    a.      Determining the position of the Plaintiffs on matters arising during the
 5
            pre-trial proceedings, and presenting such positions to the Court and opposing parties in
 6
 7          pleadings, briefs, oral arguments, or in such other fashion as may be appropriate, and

 8          allocating work in that regard while achieving efficiency and avoiding duplication;
 9                  b.      Coordinating the litigation and conducting discovery on behalf of the
10
            Plaintiffs, including, inter alia, the preparation of joint interrogatories, requests for
11
            production of documents, and examination of witnesses in depositions;
12
                    c.      Initiating or conducting settlement negotiations on behalf of the Plaintiffs,
13
14          and entering into settlement agreements on behalf of the Plaintiffs, subject to Court

15          approval;

16                  d.      Trial preparation and trial; and
17                  e.      Consistent with Court orders, allocating any judicially-approved fees and
18
            costs among Lead Counsel and other counsel for Plaintiffs upon resolution of the case.
19
     III. LATER FILED CASES
20
            11.     The Parties agree that unless otherwise ordered by the Court, the terms of this
21
22   Stipulation, including pre-trial consolidation, shall apply to shareholder derivative actions later

23   instituted in, or transferred to, this Court that involve similar or related claims, or that are

24   otherwise deemed related to this Consolidated Action. The Parties agree that when a shareholder
25
     derivative action that properly belongs as part of this Consolidated Action is hereinafter filed in
26
     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 5

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          Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 6 of 11



 1   this Court or transferred to this Court, Co-Lead Counsel for Plaintiffs shall serve and file an
 2
     endorsed copy of this Order upon attorneys for plaintiff in the newly-filed or transferred action.
 3
     The Parties agree that Co-Lead Counsel for Plaintiffs shall also advise the attorneys for any
 4
     plaintiff in any such newly-filed or transferred shareholder derivative action that those attorneys
 5
     must serve a copy of this Order on any new defendant(s) and file proof of service of this pre-trial
 6
 7   Order with the Court. The Parties agree that any objections to consolidation or application of the

 8   other terms of this Order to the newly filed shareholder derivative case shall be filed with the
 9   Court promptly, with a copy served on Co-Lead Counsel for Plaintiffs and counsel for
10
     Defendants. Unless otherwise ordered by the Court, the Parties agree that the terms of all orders,
11
     rulings, and decisions shall apply to all later related shareholder derivative actions instituted
12
     herein.
13
14   IV. TEMPORARY STAY PENDING MOTION TO DISMISS IN THE RELATED
           SECURITIES CLASS ACTION
15
               12.   The Parties agree that the Consolidated Action (including all discovery) shall be
16
     stayed until 30 days after the entry of any order(s) denying any part of any motion to dismiss in
17
18   the related securities class action pending in the United States District Court for the Western

19   District of Washington, captioned IN RE CTI BIOPHARMA CORP. SECURITIES LITIGATION,

20   No. C16-cv-00216 (RSL) (“Securities Class Action”), or a final order dismissing the Securities
21   Class Action with prejudice, as the stay will promote the efficient and orderly administration of
22
     justice by coordinating the Consolidated Action with the Securities Class Action.
23
               13.   The Parties agree that if the stay of proceedings is lifted, the Parties shall meet
24
     and confer and submit a proposed scheduling order governing further proceedings in the
25
26
     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 6

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          Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 7 of 11



 1   Consolidated Action, including the date by which Defendants must answer or otherwise plead,
 2
     and the date and time for a case management conference.
 3
            14.     The Parties agree unless otherwise ordered by the Court that all hearings or
 4
     conferences currently scheduled shall be postponed until the date and time that will be specified
 5
     in the proposed scheduling order to be submitted by the Parties.
 6
 7          15.     The Parties agree that prior to the production of any documents by Defendants to

 8   Plaintiffs, the Parties shall enter into a confidentiality agreement and/or a protective order.
 9          16.     The Parties shall notify each other of any related derivative lawsuits that they
10
     become aware of.
11
            17.     The Parties agree that if the plaintiff in any related derivative lawsuit refuses to
12
     agree to a stay under similar terms, Plaintiffs may lift the agreed stay upon 30-days’ notice in
13
14   writing.

15          18.     The Parties agree that during the pendency of this stay, Defendants shall include

16   Plaintiffs in any mediation with the plaintiffs in the Securities Class Action and shall include
17   Plaintiffs in any mediation with any purported plaintiff in any related derivative lawsuit or any
18
     other related proceeding.
19
            19.     The Parties agree that notwithstanding this stay of the Consolidated Action,
20
     Plaintiffs may file an amended complaint.
21
     IT IS SO STIPULATED.
22
23          Dated this 4th day of November, 2016.                  Respectfully submitted,
24
                                                    TERRELL MARSHALL LAW GROUP
25
26
     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 7

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         Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 8 of 11



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 5
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 6
 7                                        By: /s/_Stuart J. Guber_____
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 9                                        Jenkintown, Pennsylvania 19046
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11                                        Counsel for Plaintiffs Nahar and Velayudhan
12
                                      -   And -
13
14                                        LEE & LEE, PS

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16                                        bethany.lee@leeandleelaw.com
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17
                                          Seattle, WA 98154
18                                        Telephone: (206) 458-6986
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19
                                          GAINEY McKENNA & EGLESTON
20                                        By: /s/Thomas J. McKenna
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21                                        tjmckenna@gme-law.com
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                                          Counsel for Plaintiff Hill
25
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     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 8

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         Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 9 of 11



 1
                                      -   And -
 2
                                          DAVIS WRIGHT TREMAINE LLP
 3                                        By: /s/ Brendan T. Mangan____
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 4
                                          1201 Third Avenue, Suite 2200
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 7
 8
 9
                                          O’MELVENY & MYERS LLP
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11                                        1625 Eye Street NW
                                          Washington, D.C. 20006
12
                                          Telephone: (202) 383-5300
13                                        Facsimile: (202) 383-5414
                                          Email: jkilduff@omm.com
14
                                          Attorneys for Defendants and Nominal Defendant
15
16
17
18
                                          IT IS SO ORDERED:
19
20                                        ___________________________

21                                        Judge Robert S. Lasnik

22
23
24
25
26
     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 9

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         Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 10 of 11



 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that I caused to be served on October 31, 2016, true and correct copies of

 3   the foregoing document to the counsel of record listed below, via the method indicated:

 4   Beth E. Terrell                                             ❑        Hand Delivery Via
     Terrell Marshall Law Group                                           Messenger Service
 5
     936 North 34th Street, Suite 300                            ❑        First Class Mail
 6   Seattle, Washington 98103-8869                              ❑        Federal Express
     Counsel for Plaintiff                                       ❑        Facsimile
 7   Counsel for Plaintiffs Nahar and Velayudhan                 ý        E-mail via ECF

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     Stuart J. Guber, Esq.                                       ❑        Hand Delivery Via
 9   Faruqi & Faruqi, LLP                                                 Messenger Service
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11   Lead Counsel for Plaintiffs Nahar and Velayudhan            ❑        Facsimile
                                                                 ý        E-mail via ECF
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     Bethany Mito                                                ❑        Hand Delivery Via
13   Lee & Lee, PS                                                        Messenger Service
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14   Seattle, WA 98154
     Counsel for Plaintiff Hill                                  ❑        Federal Express
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27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 10

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        Case 2:16-cv-01250-RSL Document 14 Filed 11/04/16 Page 11 of 11



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 2
                                                       ❑        Facsimile
 3                                                     ý        E-mail via ECF

 4
     DATED: November 4, 2016.
 5
                                                /s/ ___Bethany C. Mito_____
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     STIPULATED MOTION AND PROPOSED ORDER TO CONSOLIDATE AND APPOINT LEAD COUNSEL
27   [CASE Nos. 2:16-cv-00756 / 2:16-cv-01250] – Page 11

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